8:04-cr-00092-LSC-TDT       Doc # 137   Filed: 08/16/05    Page 1 of 1 - Page ID # 439




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )               CASE NO. 8:04CR92
                                          )
             Plaintiff,                   )
                                          )                    ORDER
             vs.                          )
                                          )
OSCAR ALAVEZ,                             )
                                          )
             Defendant.                   )


      The Clerk's Office has requested that Document Number 136 be stricken from the

record for the following reason:

             •      Duplicate of Document Number 135.

      IT IS THEREFORE ORDERED that the Clerk’s Office shall strike Document Number

136 from the record.

      DATED this 16th day of August, 2005.

                                              BY THE COURT:


                                              s/Laurie Smith Camp
                                              United States District Judge
